 Case 2:21-cv-02552-SHL-atc Document 63-1 Filed 09/16/21 Page 1 of 2                                                                                   PageID 1279

                                               SWORN AFFIDAVIT

I, PEGGY JUNE GRIFFIN, solemnly swear that the following facts are true to the

best of my knowledge and recollection.

1.That my Mother, Peggy Ann Cook Cobb, graduated from Chattanooga College
of Law in Chattanooga, Tennessee, in 1944.

2. That she came to her law degree under the CIVIL RIGHTS LAW, called the
"Law of enfranchisement which was passed by Congress, in March, 1866:"* and
 also as an American citizen, residing and enjoying the privileges of both the
 Federal Bill of Rights and the Tennessee Declaration of Rights, to proceed in any
 Court of Law, both as a graduate of the Chattanooga College of Law and her
citizenship.

3, That she, a few years prior to her death on March 29, 1975, attempted to
pass the Tennessee Bar Exam, by massive study of her library of law books
which she had mastered as a student at the Chattanooga College of Law...

4. That I, seeing her laboring under the burden of such extensive homework
of preparation, told her to forget all that labor andjust memorize supreme
Court decisions of the last ten years and she would pass the Exam.

5. That upon hearing this, she laughed at me and said, in so many words,
that 'things were not that bad,' and she continued in her hard and studious
labor.                                    .    '   ·

6. That she phoned me from Knoxville, having taken the Exam and failed,
said to me, in so many words: "Guess what the text was on?"

7. I replied to her, in so many words: "Supreme Court decisions of the last
ten years?"

8. She, with a broken heart, seeing the downfall of real law, and the sham,
that law school had become, saw the degeneration of her health until she
passed away with cancer in 1975.                    '· ·
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9. That she, on her death bed, instituted a precedent-setting suit against her
husband, Newton A. Cobb, who had left her around $5,000, of his massive
insurance company's proceeds, virtually eliminating her Right to his Estate,
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10. That she, on her deathbed, filed suit, with th'e able defense of the
prominent Chattanooga attorney, Robert Lawson, who also knew fundamental
Tennessee law, that provided remedy for widows ~ho were mandated to file
 against any action that excluded her from her rightful dowry,

11. That this suit successfully sailed through the lower, middle and supreme
Court and became precedent law on the Tennessee law books, Peggy Cook v.
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 Case 2:21-cv-02552-SHL-atc Document 63-1 Filed 09/16/21 Page 2 of 2                                    PageID 1280

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   Newton Cobb, guaranteeing that widows were not left destitute and were
more or less mandated to receive their just portion. This set the Justice ofnessee
Law as a hallmark of righteousness in law for widows.

12. That the 1964 so-called "Civil Rights" Act eclipsed good law, the Civil Rights
 Law, which was certified by the blood of Civil War Veterans on both sides of
the Mason-Dixon line, which blood guaranteed that all individuals had total
independent freedom to act as individuals, in ownership ofproperty,jury
rights, and all individual privileges not previously enjoyed, with attendant
penalties against persons who attempted to interfere with these blood-bought
Rights.

13. That my Mother exercised all the privileges guaranteed her in the Civil
Rights LAW and came to great prominence, in spite of the artificial and
fraudulent Civil Rights ACT of 1964, which robbed individuals of those
independent and kingly privileges, dividing them into groups, Blacks,
Women, and descending collectives requiring the mediation of a Lawyer,
under a complicated system of supreme Court decisions, which were
contrary to the simple, God-given Rights guaranteed by State and Federal
Bills of Rights, especially the ability to represent themselves in Court.

14. That thousands of individuals came to prominence as manufacturers,
university professors, and other professional occupatio_n.s PRIOR to the
spurious 1964 "Civil Rights Act,"

15. That this Act robbed the Individual of the ability to show skills or
qualification and made a sham of personal achievement, having now unable
to prove that they came to their occupations or prominence by a false way,
and that they will never be able to enjoy the soul's privileges of personal
 achievement, placing a cloud over the titles of achievement or prominence,
whether as either as Judges, elected offices, performers, ministers, or
 employees. Such individuals can never say: I achieved by my skill and ambition;
rather such individuals are bounden slaves to a Usurper

Personally appeared before me this the ~     AY ~  "~-    2021, the
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signed individual with whom I am personally a c q u ~~ :-




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